                         UNITED STATES COURT OF APPEALS
                                    FOR THE EIGHTH CIRCUIT

                         CRIMINAL APPEAL BRIEFING SCHEDULE

Appeal No.      23-2550 United States v. Kendra Kingsbury

Date:           June 30, 2023

Briefing in criminal appeals is governed by Eighth Circuit's Plan to Expedite Criminal Appeals.
Counsel should also review the provisions of Eighth Circuit Rule 27B.

                                   APPEAL REQUIREMENTS

1.   On January 1, 2013, the court eliminated the clerk's record as the form for the record on
     appeal in criminal cases. Instead, the court will review the electronic version of the
     pleadings and orders maintained by the district court on its official docket. The remainder
     of the record materials required for appellate review of the case - transcripts, exhibits,
     Statements of Reasons, Presentence Investigation Reports and any other items not
     accessible from the electronic docket - will still be forwarded in paper format for the
     court's use. Dates are established for transmittal of these paper documents. Directions for
     citation to the district court electronic docket and other documents are provided in the
     docketing letter sent with this schedule. Failure to follow these citation directions may
     result in the rejection of your brief. Questions should be addressed to the circuit court
     clerk's office.

2.   Please promptly order any transcripts. If the appeal is proceeding in forma pauperis,
     requests for and payments of transcripts shall be processed through the district court's
     eVoucher system.

3.   If you were retained for the district court proceedings and the defendant is unable
     to bear the cost of the appeal, a motion for leave to proceed in forma pauperis should
     be filed with the district court. Counsel cannot be appointed and a transcript cannot
     be provided at government expense unless the defendant obtains IFP status.

4.   As this case was tried in three days or less, the court reporter shall file the transcript
     within 21 days of filing the notice of appeal.

5.   Review "Briefing Checklist" and "Pointers on Preparing Briefs" at:
     www.ca8.uscourts.gov/appeal-preparation-information . Please note appellant's brief
     must include a copy of the Judgment and Commitment
     Order in the Addendum.

6.   The government must file a single brief in multiple-defendant appeals.




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                                               GENERAL INFORMATION

         The following filing dates are established for the appeals. Dates are only extended upon
the filing of a timely motion establishing good cause. An order extending the time for filing a
brief also extends the filing date for the responding or replying party's brief. Filing dates can also
be accelerated if a party files its brief before the due date. Please refer to FRAP 25, FRAP 26 and
FRAP 31 for provisions governing filing and service. You may find the Federal and Eighth
Circuit rules, as well as practice aids, at: www.ca8.uscourts.gov/rules-procedures.



                                                        FILING DATES:

Transcript . . . . . . . . . .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 07/21/2023
   ( Gayle Wambolt )

PSI Report . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 07/21/2023

Appellant's Brief (with addendum). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .. . . . . 08/04/2023
  ( Kendra Kingsbury )

Appellee's Brief. . . . . . . . . . . . . . . . . . . . . . . . . . . 21 days from the date the court issues the
                                                                       Notice of Docket Activity filing the brief.

Appellant's Reply Brief . . . . . . . . . . . . . . . . . . . . . .7 days from the date the court issues the
                                                                  Notice of Docket Activity filing the brief.


                                ALL BRIEFS AND APPENDICES SHOULD BE
                                  FILED WITH THE ST. LOUIS OFFICE




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